         Case 12-03284 Document 45 Filed in TXSB on 04/30/14 Page 1 of 3




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                      §
                                            §
DIABETES AMERICA, INC.,                     §    CASE NO. 10-41521-H1-11
                                            §
     Debtor.                                §
H. MALCOLM LOVETT, JR.,                     §
PLAN AGENT,                                 §
                                            §
      Plaintiff,                            §
                                            §
vs.                                         §     ADVERSARY NO. 12-3284
                                            §
CARDINAL HEALTH 411, INC. D/B/A             §
CARDINAL HEALTH                             §
PHARMACEUTICAL DISTRIBUTION,                §
                                            §
      Defendant.                            §

             JOINT MOTION TO DISMISS ADVERSARY PROCEEDING

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable Marvin Isgur,
United States Bankruptcy Judge:

      H. Malcolm Lovett, Jr., Plan Agent (the “Plan Agent”) under Diabetes America, Inc.’s

(the “Debtor”) Second Amended Chapter 11 Plan of Liquidation and Cardinal Health 411, Inc.
              Case 12-03284 Document 45 Filed in TXSB on 04/30/14 Page 2 of 3




d/b/a Cardinal Health Pharmaceutical Distribution (the “Defendant”) file this Joint Motion to

Dismiss Adversary Proceeding.

                                          Requested Relief

         1.       The Plan Agent and the Defendant have reached a settlement resolving the claims

in this adversary proceeding.      The agreement has been approved by the post-confirmation

committee pursuant to Article 8.2 of the Plan. Pursuant to the terms of the settlement agreement,

this adversary proceeding is to be dismissed with prejudice with each party to bear its respective

costs.

         2.       Accordingly, the Trustee and the Defendant request (i) that this adversary

proceeding be dismissed with prejudice, with each party to bear its respective costs; (ii) upon the

dismissal, that this adversary proceeding be closed; and (iii) such other relief as is just.

          Dated: April 30, 2014

                                                       Porter Hedges LLP

                                               By: /s/ Joshua W. Wolfshohl
                                                   Joshua W. Wolfshohl
                                                   State Bar No. 24038592
                                                   Aaron J. Power
                                                   State Bar No. 24058058
                                                   1000 Main Street, 36th Floor
                                                   Houston, Texas 77002
                                                   (713) 226-6653
                                                   (713) 226-6253 (fax)
                                                   Counsel for the Plan Agent

                                                       and




                                                   2
Case 12-03284 Document 45 Filed in TXSB on 04/30/14 Page 3 of 3




                                  Haynes and Boone LLP

                                  /s/ Robert D. Albergotti
                                  Robert D. Albergotti
                                  State Bar No. 00969800
                                  2323 Victory Avenue, Suite 700
                                  Dallas, TX 75219-7673
                                  214-651-5613
                                  Fax : 214-200-0350
                                  Counsel for the Defendant




                              3
